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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0340V
                                        UNPUBLISHED


    RACHEL RUTKOWSKI,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: August 31, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On March 25, 2020, Rachel Rutkowski filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a “left shoulder injury resulting from
the adverse effects of an influenza vaccination” she received on October 1, 2018. Petition
at ¶ 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On August 31, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that Petitioner had no relevant history of pain,
inflammation, or dysfunction in her left shoulder; Petitioner’s pain and reduced range of

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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motion occurred within 48 hours of receipt of an intramuscular vaccination; Petitioner’s
symptoms were limited to the shoulder in which the vaccine was administered; and no
other condition or abnormality was identified to explain Petitioner’s symptoms. Id. at 5-6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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